          CASE 0:25-cv-01024-PJS-DTS      Doc. 17    Filed 04/09/25   Page 1 of 2




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA


 JAMES ANDREW GRIMMER,                                       Civil Action No.: 0:25-cv-
                                                                       01024-PJS-DTS
                 Plaintiff,

 vs.

 CAPITAL ONE BANK, N.A.; and
 GURSTEL LAW FIRM, P.C.

                 Defendants.


       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT
       PURSUANT TO RULE 12(b)(6) OF THE FEDERAL RULES OF CIVIL
                            PROCEDURE

          Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants

Gurstel Law Firm, P.C. and Capital One Bank, N.A., hereby move the Court for an order

dismissing Plaintiff’s Complaint (ECF Doc. No. 1-1) with prejudice.

          The motion is based upon the supporting memorandum of law and accompanying

documents, the arguments of counsel, and upon all the files, records, and proceedings

herein.

                                        Respectfully submitted,

                                        BASSFORD REMELE
                                        A Professional Association

Dated: April 9, 2025               By: /s/ Patrick D. Newman
                                       Patrick D. Newman (MN#395864)
                                       100 South Fifth Street, Suite 1500
                                       Minneapolis, MN 55402
                                       Telephone: (612) 333-3000
                                       Facsimile: (612) 333-8829

                                            1
CASE 0:25-cv-01024-PJS-DTS     Doc. 17   Filed 04/09/25   Page 2 of 2




                             Email: pnewman@bassford.com

                             Attorneys for Defendants, Gurstel Law Firm,
                             P.C. and Capital One Bank, N.A.




                                 2
